The defendants and each of them being in default for answer and demurrer to the petition, the Court finds the allegations in the petition confessed to be, and that they are in fact, true.
The Court finds that said board of county commissioners of Fairfield county, Ohio, duly issued the bonds as in the petition alleged and that there are overdue and unpaid the following installments of principal and interest, viz:
  Due Date       Principal        Interest    Total        Accrued Interest to Dec. 8, 1925.
Mar.  8, 1922     $1500.00                   $1=00.00     $281.00 Sept. 8, 1922      2000.00        $550.00     2550.00      414.38 Mar.  8, 1923      2000.00         500.00     2500.00      344.00 Sept. 8, 1923      2000.00         450.00     2450.00      275.63 Mar.  8, 1924      2000.00         400.00     2400.00      150.00 Sept. 8, 1924      2000.00         350.00     2350.00      146.88 *Page 712 
Mar.  8, 1925      2000.00         300.00     2300.00      115.86 Sept. 8, 1925      2000.00         250.00     2250.00       28.13 ________     _______ Total ____________________ $18300.00    $1755.88
Grand Total __________________________ $20,055.88
Wherefore a writ of mandamus is issued commanding said defendants forthwith:
First: To apply the unencumbered balance now in the county ditch fund to the payment of said indebtedness.
Second: If the balance in said county ditch fund be insufficient to pay said indebtedness in full, to apply so much of the unencumbered balance now in the general fund of the county, as may be necessary to pay the balance of said indebtedness in full, together with interest on said amount at the rate of five per cent. per annum, from December 8, 1925, until the date of payment thereof.
Third: That said defendants, and each of them, shall file, within ten days from service hereof, a report of their proceedings hereunder, and, with respect to all other relief prayed for in said petition, this cause is continued for further order of the Court.
Writ allowed.
MARSHALL, C.J., JONES, MATTHIAS, DAY, ALLEN, KINKADE and ROBINSON, JJ., concur. *Page 713 